_ Case 1:03-cv-01275-.]DT-STA Document 17 Filed 04/19/05 Page 1 0f3 Page|D 1§/

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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TENNESSEE

 

EASTERN DIVISION
DIRECTV, lnc., a California corporation, )
Piaintiff, §
v. § Case No. 1-03'1275-1`
RANDALL BRASFIELD, )
Defendant. §

AGREED ORDER OF COMPROMISE AND DISMISSAL
AS TO DEFENDANT RANDALL BRASFIELD

It appearing to the court that the parties have settled all matters in controversy existing
between them it is therefore accordingly ORDERED, ADJUDGED AND DECREED by the
court that:

The Complaint of the Plaintiff, DIRECTV, Inc. is hereby dismissed with prejudice as to

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sga/we /M/W_W

Defendant RANDALL BRASFIELD.

Respectfully Submitted,

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Case 1:03-cv-01275-.]DT-STA Document 17 Filed 04/19/05 Page 2 of 3 Page|D 13

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TENNESSEE
EASTERN DIVISION

DIRECTV, Inc., a Calif`ornia corporation,

Plaintif`f,

V.
"_A:~IDALL BRASFIEL`D,

Defendant.

_ (.`ase No. l-03-1275-T

\../\_./\/\._r\_d\_/\../\_¢V

AGREED ORDER OF COMPROMISE AND DISMISSAL
AS TO DEFENDANT RANDALL BRASFIELD

lt appearing to the court that the parties have settled all matters in controversy existing

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court that

The Complaint of the Plaintiff, DIRECTV, lnc. is hereby dismissed with prejudice as to

Defendant RANDALL BRASFIELD.

Respectfully Submitted,

 

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2815281-000333 03/30/2005

 

Judge

 

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This notice confirms a copy of the document docketed as number l7 in
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Honorable J ames Todd
US DISTRICT COURT

